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                               Exhibit 50



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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Clifford, Margaret                                     October 29, 2008
                              Concord, NH

                                                                      Page 1
               UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF MASSACHUSETTS

     -----------------------------------X

     In Re: PHARMACEUTICAL INDUSTRY      ) MDL No. 1456

     AVERAGE WHOLESALE PRICE LITIGATION ) Master File No.

     -----------------------------------) 01-CV-12257-PBS

     THIS DOCUMENT RELATES TO:           )

     United States of America ex rel.    ) Hon. Patti B.

     Ven-A-Care of the Florida Keys,     )     Saris

     Inc., et al. v. Dey, Inc., et al., )

     Civil Action No. 05-11084-PBS,      ) VIDEOTAPED

     and United States of America ex     ) DEPOSITION

     rel. Ven-A-Care of the Florida      ) OF MARGARET

     Keys, Inc., et al. v. Boehringer    ) CLIFFORD

     Ingelheim Corp., et al., Civil      )

     Action No. 07-10248-PBS and United ) OCTOBER 29, 2008

     States, ex rel. Ven-A-Care of the   )

     Florida Keys v. Abbott              )

     Laboratories, Inc. Civil Action     )

     Nos. 06-CV-11337 and 07-CV-11618    )

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                                          Page 2                                              Page 4
 1    Videotaped Deposition of MARGARET CLIFFORD 1       A P P E A R A N C E S (CONTINUED)
 2          Concord, New Hampshire                2
 3         Wednesday, October 29, 2008            3 On behalf of Abbott Laboratories, Inc.:
 4               9:30 a.m.                        4
 5                                                5   ERIC P. BERLIN, ESQ. (Via telephone.)
 6                                                6   Jones Day
 7                                                7   77 West Wacker
 8                                                8   Chicago, IL 60601-1672
 9         APPEARANCES                            9   312-269-4117
10                                               10   epberlin@jonesday.com
11 On behalf of the United States of America:    11
12                                               12 ALSO PRESENT: Patrick Battle, Videographer
13   GEORGE B. HENDERSON, ESQ.                   13         Dwight Schwader (DOJ Associate)
14   Assistant United States Attorney            14
15   United States Courthouse                    15
16   1 Courthouse Way                            16
17   Suite 9200                                  17
18   Boston, MA 02210                            18
19   617-748-3272                                19
20   george.henderson2@usdoj.gov                 20
21                                               21
22 (CONTINUED)                                   22
                                          Page 3                                              Page 5
 1      A P P E A R A N C E S (CONTINUED) 1              INDEX
 2                                         2
 3 On behalf of the Witness:               3 WITNESS: MARGARET CLIFFORD                            PAGE
 4   DEBORAH WEISSBARD, ESQ.               4  Examination By Mr. Katz..................... 009
 5   Assistant Attorney General            5  Examination By Mr. Berlin................... 166
 6   Department of Justice                 6  Examination By Mr. Henderson................ 196
 7   Office of the Attorney General        7  Examination By Mr. Katz..................... 248
 8   33 Capitol Street                     8  Examination By Mr. Berlin................... 285
 9   Concord, NH 03301                     9  Examination By Mr. Henderson................ 318
10   603-271-1196                         10
11   deborah.weissbard@doj.nh.gov         11
12                                        12         DEY EXHIBITS
13                                        13 NUMBER          DESCRIPTION                       PAGE
14 On behalf of Dey, Inc.:                14 Exhibit Dey 200-HHD127-0322 to 0326 US DHHS
15                                        15          OIG Survey..................... 073
16   CLIFFORD KATZ, ESQ.                  16 Exhibit Dey 201-OIG Report, August 1998
17   Kelley Drye & Warren LLP             17          HHD121-0987 to 1004............ 115
18   101 Park Avenue                      18 Exhibit Dey 202-Ipratropium Chart.............. 127
19   New York, NY 10178                   19 Exhibit Dey 203-Dey letter of 8/10/99
20   212-808-7609                         20          Marked Confidential
21   ckatz@kelleydrye.com                 21          DL-0050553..................... 160
22                                        22 Exhibit Dey 204-Grant Thornton Study........... 268

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Clifford, Margaret                                                       October 29, 2008
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                                          Page 58                                                 Page 60
 1   BY MR. KATZ:                                      1       A. No.
 2      Q. Okay. There was a proposal by               2       Q. What about the NACDS? Tell me about
 3   legislature for Most Favored Nation clause?       3    the communications you had with them from 1994 to
 4          MR. HENDERSON: Objection.                  4    2000.
 5          MS. WEISSBARD: Can you ask her direct      5       A. I already said, the communications were
 6   question? You're leading her. It is going to get  6    meetings where representatives from each of those
 7   confused. You're not clearing up the record.      7    associations were at the table. It wasn't
 8   You're making it worse. This was a Legislative    8    individual communication with each group. It was
 9   mandate.                                          9    a set of meetings where representative from each
10          When you're answering question, instead   10    group was at the table.
11   of saying "uh-hum" got say "yes" or "no" so she  11       Q. Aside from those, have you had any
12   can get it down clearer.                         12    communications with the NACDS during that time
13          MR. KATZ: I disagree with that            13    period?
14   characterization.                                14       A. No.
15   BY MR. KATZ:                                     15       Q. And same question for the others. Were
16      Q. But okay. Can you tell me in your own      16    your communications with these four associations
17   words how the reimbursement rate went from AWP 17      limited to that one instance?
18   minus 10 percent plus a variable dispensing fee  18       A. Yes.
19   to AWP minus 12 percent plus a $2.50 dispensing 19        Q. Did you use e-mail while you were an
20   fee?                                             20    employee from 1994 to 2000?
21      A. That was done through the legislature      21       A. Yes.
22   and that House Bill 32 which had nothing to do   22       Q. Were you on any e-mail list serves with
                                          Page 59                                                 Page 61
 1   with me or the department.                         1   other state Medicaid officials from other states?
 2      Q. Okay. Did it have to do with                 2       A. Yes, I believe I was.
 3   negotiations with the pharmacy association?        3       Q. What are the names of those?
 4      A. No.                                          4       A. I don't -- it was through EMPA, Eastern
 5      Q. Did New Hampshire Medicaid or any            5   Medicaid Pharmacy Administrators.
 6   personnel of New Hampshire Medicaid meet with any 6        Q. Was there more than one list serve that
 7   pharmacy associations regarding this change from   7   you were on?
 8   reimbursement from AWP minus 10 percent and a      8       A. That's the only one I recall.
 9   variable dispensing fee to AWP minus 12 percent    9       Q. Was there one called NMPAA?
10   and $2.50 dispensing fee?                         10       A. No, not that I recall.
11      A. No. The meetings were over the              11       Q. The National Medicaid Pharmacy
12   pharmacy, the pharmacy groups associations        12   Administrators list serve?
13   concern over the Most Favored Nation clause that  13       A. Well, that would be the EMPA.
14   was also part of that same legislation that was   14       Q. Under the national. I think you gave
15   changing the reimbursement rate. The concern      15   me the Eastern Medicaid.
16   wasn't over the reimbursement rate or the         16       A. I was a member of EMPA. I was on a
17   dispensing fee. It was over the Most Favored      17   list serve that they put me on, so I would assume
18   Nation, and the language of that.                 18   it was EMPA. But if you're telling me it is
19      Q. Have you had any other communications       19   national, I don't know.
20   with New Hampshire Pharmacists Association?       20       Q. In 2000 you left your employment with -
21      A. Since that time or?                         21   - as a pharmaceuticals services specialist,
22      Q. During the time period of 1994 to 2000?     22   right?

                                                                           16 (Pages 58 to 61)
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 1   administration or distribution and make sure they    1          MR. KATZ: HHD 014-0449. When I say
 2   are complying with state and federal laws.           2   page 1, I meant the page actually marked one, not
 3       Q. Do you investigate compliance in any          3   page one of the exhibit.
 4   way relating to prices?                              4   BY MR. KATZ:
 5       A. No. We have nothing to do with prices.        5      Q. If you look in the middle of the third
 6   Consumer protection is what we are looking at.       6   paragraph, it states: "However, the OIG issued a
 7       Q. And that is your current position,            7   report in 1984 which stated that on average
 8   right?                                               8   pharmacies purchase drugs for 15.9 percent below
 9       A. Well, currently I'm the chief                 9   AWP. In 1989, the OIG issued a follow-up report
10   compliance investigator. I was just promoted in     10   which concluded that pharmacies were purchasing
11   September.                                          11   drugs at discounts of 15.5 percent below AWP.
12       Q. Are you currently a member of any            12   Both the 1984 and 1989 reports combined brand
13   pharmacy associations?                              13   name and generic drugs in calculating the
14       A. No.                                          14   percentage discounts and included a comparison of
15       Q. Going to hand you a document previously      15   3469 and 4723 purchases respectively."
16   marked Abbott Exhibit 158. Like you to take a       16          Are you familiar with the 1984 and 1989
17   look through the document.                          17   OIG reports?
18          Is this an OIG report that you               18      A. No.
19   recognize?                                          19      Q. And now you understand this report
20       A. I think that I may have seen this, yes.      20   relates specifically to generic drugs, right?
21       Q. Like you to -- like to direct your           21          MS. WEISSBARD: Do you know that?
22   attention to page lower case "i" in the summary.    22          THE WITNESS: No, I don't know.
                                              Page 91                                                  Page 93
 1   Now, if you see the third paragraph, the first       1   BY MR. KATZ:
 2   sentence. Can you read that for the record?          2       Q. Okay, well, if you look at the title of
 3      A. "We estimate that on average actual            3   the report?
 4   acquisition costs of generic drugs was 42.5          4       A. Okay. I can see it says that.
 5   percent below AWP."                                  5       Q. Medicaid Pharmacy Actual Acquisition
 6      Q. Is this something that you were either         6   Costs of Generic Prescription Drug Products. Do
 7   aware of or recall learning in 1997?                 7   you see that?
 8      A. I recall seeing this document. I don't         8       A. Okay, yes.
 9   recall when I saw this document.                     9       Q. Now, if you go down another three
10      Q. Would it have been during the first           10   paragraphs, it says, "An article in the June 10,
11   period of your employment from 1994 to 2000 or      11   1996 issue of Baron's entitled 'Hooked on Drugs'
12   from 2001 to 2005?                                  12   focused additional attention on AWP and its
13      A. I don't recall when it was.                   13   relationship to actual acquisition costs.
14      Q. Well, look through it more. Let's go          14   Baron's compared about 300 dose forms of the top
15   through some others.                                15   20 Medicare drugs and concluded that the true
16      A. I don't think it is going to help me          16   cost was 10 to 20 percent below AWP for brand
17   remember when I saw it.                             17   name drugs and 60 to 85 percent below AWP for
18      Q. Okay. Let's go to page 1. Now, if you         18   generic drugs. Baron's also reported the
19   look in the third full paragraph, it says,          19   industry insider's joke that AWP really means
20   "however" -- the fourth sentence in.                20   'ain't what's paid.'"
21      A. I don't think my page 1 is the same.          21           Do you recall ever reviewing this
22          MR. HENDERSON: Sorry, what page?             22   Baron's article called "Hooked on Drugs"?
                                                                                 24 (Pages 90 to 93)
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 1       A. No, I've never even heard of Baron's.       1     BY MR. KATZ:
 2       Q. Have you ever heard the expression          2         Q. That doesn't really give me any basis.
 3   'ain't what's paid'?                               3             MS. WEISSBARD: That's too bad you
 4       A. No. I mean, I may have read it when I       4     don't have the information you want.
 5   saw this document years ago, but nothing that      5             MR. KATZ: Sorry, that's a speaking
 6   stuck with me.                                     6     objection.
 7       Q. Is it consistent with your                  7             MS. WEISSBARD: I know but I'm not
 8   understanding that the difference between AWP and 8      going to let you badger my witness. She just
 9   actual acquisition costs was greater for generic   9     gave you an answer.
10   drugs than brand drugs?                           10             MR. KATZ: I am not badgering the
11       A. No.                                        11     witness.
12       Q. How is that inconsistent?                  12             MS. WEISSBARD: You just don't like it.
13       A. In my understanding of what an AWP was     13     BY MR. KATZ:
14   is the average -- it is the prices the            14         Q. What about your training did you learn
15   manufacturer would report for their average price 15     which informed you that AWP relates to the cost?
16   between all the contracts they had for selling    16         A. When we would order a drug that we
17   that product.                                     17     didn't have in stock, and maybe a brand new drug
18       Q. What is that understanding based on?       18     to the market or whatever, could be brand new
19       A. Just understanding that I've had. I'm      19     brand or brand new generic to the market, if that
20   not sure where it comes from. In my training as   20     drug was not in the computer system, you couldn't
21   a pharmacist I would assume.                      21     fill a prescription for it until you entered it
22       Q. But as a retail pharmacist you             22     into the computer. The cost that we would put in
                                             Page 95                                                    Page 97
 1   testified that you didn't know the prices at         1   that, that I would put, if I was entering the
 2   which the pharmacies were purchasing drugs, so       2   drug because it wasn't in there either when I
 3   you didn't have --                                   3   worked for a chain or an independent. When I
 4       A. Right, I didn't.                              4   worked for a chain, if I had to add the drug, I
 5       Q. You couldn't compare them to the AWPs,        5   would base the cost based on the AWP that was
 6   right?                                               6   published. And the corporate would have their --
 7       A. Right. I assumed that AWP was the cost        7   they typically were the ones that added new drugs
 8   or near the cost.                                    8   to the system. But if you got a prescription
 9       Q. What is the basis for that assumption?        9   before something was in there, you could add it
10       A. That's just what I thought. When I had       10   at store level. And we would use the AWP to put
11   to look up something to order it, I would look at   11   in as the price. And that was true both at
12   the AWP and I would think that's the cost, you      12   Gosselin's, which was an independent, and at
13   know. If I was ordering something over the          13   Brooks and Rite-Aid.
14   counter special for somebody, the price would be    14          Now we would have weekly price updates
15   calculated based on that as being our cost.         15   where corporate would then overlay what they put
16       Q. What is your basis for testifying that       16   in, or with Gosselin's we would get a weekly
17   the price will be calculated based on AWP?          17   update from the wholesaler that would adjust to
18          MR. HENDERSON: Objection.                    18   anything that I had manually put in.
19          MS. WEISSBARD: I don't understand your       19       Q. Okay. I understand the part about you
20   question. She just explained to you based on her    20   would enter AWPs into the computer systems of the
21   training and experience as pharmacy. I am sorry     21   pharmacies that you worked in.
22   you don't like her answer but it is what it is.     22       A. As the cost. When it asked me what
                                                                                 25 (Pages 94 to 97)
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Clifford, Margaret                                                               October 29, 2008
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                                            Page 206                                                   Page 208
 1          MR. KATZ: Objection. The document             1   pharmacist in reimbursement?
 2   speaks for itself. There's no question.              2      A. In the second paragraph of Exhibit 3 it
 3          MR. HENDERSON: I'm working up to my           3   says they will no longer deduct the $.50
 4   question.                                            4   copayment from the reimbursement allowance.
 5          MR. KATZ: Okay.                               5      Q. Okay. So Exhibit 3 is indicating they
 6   BY MR. HENDERSON:                                    6   are eliminating the co-pay entirely; is that
 7      Q. And then on Dey -- I'm sorry, Exhibit          7   right?
 8   Number 5, this indicates that effective beginning    8      A. I'm not sure. This was before my time.
 9   May 1, 1994 the co-pay for a brand drug is $1 and    9   And I don't know if they were eliminating the co-
10   dispensing fee is $3.25. Whereas for generic or     10   pay or just eliminating taking it, deducting it
11   branded generic drugs, the co-pay is lower, $.50;   11   from the reimbursement to the pharmacy.
12   and dispensing fee is higher, at $4.15. Do you      12      Q. Okay. Your memory is that when a co-
13   see that?                                           13   pay existed, it would be an amount that the
14      A. Yes.                                          14   department would deduct from the payment, the
15          MR. KATZ: Objection, form.                   15   reimbursement payment made to the pharmacist,
16          MR. HENDERSON: I'll ask my question          16   correct?
17   but first we'll take a break so that the            17      A. Yes.
18   videographer can change the tape.                   18      Q. At any rate, back to my question. Was
19          VIDEOGRAPHER: The time is 2:24. This         19   one of the ways that the department encouraged
20   ends cassette number 2. We are off the record.      20   the use of generics was to have a lower co-pay
21          VIDEOGRAPHER: This beginning of              21   deducted from the reimbursement for generics as
22   cassette number 3. We are back on the record.       22   compared to branded drugs?
                                            Page 207                                                   Page 209
 1   BY MR. HENDERSON:                                    1      A. Yes.
 2      Q. Ms. Clifford, having looked at Exhibits        2      Q. Document exhibits -- or Exhibit 5
 3   3, 4 and 5, do you have a recollection of whether    3   indicates that the department in May of 1994
 4   or not during the period when you were at the        4   established a dispensing fee that was higher for
 5   agency that the agency encouraged -- had a policy    5   generics than for branded products, correct?
 6   of encouraging the use of generics?                  6      A. Correct.
 7      A. Yes.                                           7      Q. Was that one of the ways that the
 8      Q. Was one of those ways to have a co-pay         8   department encouraged the use of generics?
 9   that was lower for generics than it was for          9      A. Yes.
10   branded products?                                   10      Q. To your recollection, at any time
11      A. Yes, it was.                                  11   during your work for Health and Human Services in
12      Q. Now, the co-pay, was that something           12   New Hampshire, did the department ever have a
13   that would be deducted from the payment to the      13   policy of encouraging the use of generics by
14   pharmacist?                                         14   intentionally paying an inflated Estimated
15      A. I thought it always had been, but I see       15   Acquisition Cost?
16   from these earlier notice, I started in '94, I      16      A. No.
17   believe during my time that, yes, the co-pay was    17          MR. KATZ: Objection, form.
18   always deducted. But looks like prior to that it    18   BY MR. HENDERSON:
19   was not.                                            19      Q. Did, to your recollection, did the
20      Q. And what are you referring to, Exhibit        20   Health and Human Services ever intend to pay more
21   3, or where does it indicate that the co-pays       21   than a good faith estimate of acquisition costs
22   were not deducted from the amount paid to the       22   plus a dispensing fee?
                                                                               53 (Pages 206 to 209)
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                                           Page 210                                                  Page 212
 1           MR. KATZ: Objection, form.               1             THE WITNESS: No.
 2           THE WITNESS: No.                         2     BY MR. HENDERSON:
 3   BY MR. HENDERSON:                                3          Q. And similarly, throughout the entire
 4       Q. To your knowledge, Ms. Clifford, did      4     time that you worked at the department -- well,
 5   the Health and Human Services in New Hampshire 5       I'll just -- well, I'll repeat it just so it is
 6   ever determine an Estimated Acquisition Cost by  6     clear. Did the department ever determine an
 7   or based upon a consideration of the cost of     7     Estimated Acquisition Cost based upon a
 8   dispensing the drug?                             8     consideration of the cost of dispensing a drug?
 9           MR. KATZ: Objection, form.               9          A. No.
10           THE WITNESS: No.                        10             MR. KATZ: Objection to form.
11   BY MR. HENDERSON:                               11     BY MR. HENDERSON:
12       Q. Did the department ever determine a      12          Q. And conversely, throughout the time
13   dispensing fee based on the cost of acquiring a 13     period that you were at the department, did the
14   drug?                                           14     department ever determine a dispensing fee based
15           MR. KATZ: Objection, form.              15     on the cost of acquiring a drug?
16           THE WITNESS: No.                        16             MR. KATZ: Objection, form.
17           MR. BERLIN: Just like to add, not sure  17             THE WITNESS: No.
18   if Mr. Katz's objection covers it but objection 18     BY MR. HENDERSON:
19   to foundation. Because very first question was  19          Q. To your knowledge, throughout the time
20   if she had absolutely nothing to do with        20     period that you worked at the department, did the
21   reimbursement rates and that sort of thing; and 21     department ever have a policy or practice of
22   all of these questions go to that, so I would   22     paying an inflated Estimated Acquisition Cost for
                                           Page 211                                                  Page 213
 1   like a running objection to foundation if that's   1   the purpose of making up for an inadequate
 2   fine.                                              2   dispensing fee?
 3          MR. HENDERSON: Okay.                        3          MR. KATZ: Objection, form.
 4          MR. KATZ: Do I assume correctly that        4          THE WITNESS: No.
 5   you agree objection to form covers foundation?     5   BY MR. HENDERSON:
 6          MR. HENDERSON: Yeah, yeah. And I also 6             Q. I'm done with those exhibits and
 7   agree that an objection by one of you is an        7   actually if you'll hand them back, I'll put them
 8   objection by both.                                 8   back in order so we can keep things. Thank you.
 9          MR. BERLIN: Okay, thank you.                9          I'm going to hand you Exhibit 80 which
10   BY MR. HENDERSON:                                 10   I presume you've never seen this before, have
11      Q. Ms. Clifford, my questions were             11   you?
12   intended to cover not only the time period when   12       A. No, I have not.
13   you were there from 1994 through 2000 but also    13       Q. And this, I think, is dated proposed
14   the time period from 2001 through 2005,           14   effective date of this is February 1, 1996. This
15   specifically my questions about whether the       15   describes the change in the payment rates for
16   department ever encouraged the use of generics by 16   drugs that became effective February 1, 1996 when
17   paying an inflated Estimated Acquisition Cost.    17   the EAC was changed from AWP minus 10 percent to
18          Throughout your time period at Health      18   AWP minus 12 percent, and the dispensing fee was
19   and Human Services, did the department ever       19   lowered to $2.50. Do you generally recall that
20   encourage the use of generics through the use of  20   occurring?
21   paying inflated estimated acquisition costs?      21       A. Yes.
22          MR. KATZ: Objection, form.                 22       Q. And I can't recall, did you have any

                                                                            54 (Pages 210 to 213)
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                                            Page 322                                                     Page 324
 1         MR. BERLIN: Objection, form.                 1         W I T N E S S' S I G N A T U R E P A G E
 2         THE WITNESS: No.                             2
 3   BY MR. HENDERSON:                                  3          I have read the foregoing pages which
 4      Q. Now, if a manufacturer, any                  4    contain a correct transcription of answers made by
 5   manufacturer had done that, had come to your       5    me to the questions therein recorded, with the
 6   agency and said that they were reporting inflated  6    exception(s) and/or addition(s) reflected on the
 7   AWPs because they thought New Hampshire's          7    correction sheet attached hereto, if any.
 8   dispensing fees were too low, can you tell me in   8         Signed this the ___day of _________, 2008.
 9   your opinion whether that is something the Health  9
10   and Human Services in New Hampshire would have 10                  __________________________
11   approved of?                                      11                 Margaret Clifford
12         MR. KATZ: Objection, form.                  12           *************************
13         THE WITNESS: In my opinion, no.             13    STATE OF _________________
14   BY MR. HENDERSON:                                 14    COUNTY OF_________________
15      Q. Did the department give manufacturers       15
16   the authority to increase dispensing fees?        16           Subscribed and sworn to before me this
17         MR. KATZ: Objection, form.                  17    _____day of __________________, 2008.
18         THE WITNESS: No.                            18
19   BY MR. HENDERSON:                                 19               _____________________________
20      Q. Did the department give drug                20                  Notary Public
21   manufacturers the authority to decide whether     21    My Commission Expires:____________________
22   dispensing fees were inadequate?                  22    (Seal)
                                            Page 323                                                     Page 325
 1         MR. KATZ: Objection, form.                    1             CERTIFICATE
 2         THE WITNESS: No.                              2
 3   BY MR. HENDERSON:                                   3            I, JANE WORTHEN EATON, Court Reporter and
 4      Q. Is it fair to say that it is the Health       4   Notary Public, do hereby certify that the foregoing
 5   and Human Services that makes decisions about       5   transcript consists of the testimony of said witness,
 6   dispensing fees, not drug manufacturers?            6   after having been duly sworn, and constitutes a true and
 7         MR. KATZ: Objection, form.                    7   correct record of the testimony given by said witness.
 8         THE WITNESS: Yes.                             8            I further certify that I am not a relative
 9   BY MR. HENDERSON:                                   9   or attorney of either party nor financially interested
10      Q. Why is that?                                 10   in the outcome of this action.
11         MR. KATZ: Objection, form.                   11
12         THE WITNESS: Because we are the ones         12
13   paying the bill; we should set what we are going   13             _____________________________________
14   to pay.                                            14             Jane Worthen Eaton, RMR, CRR, CMRS
15         MR. HENDERSON: No further questions.         15             Registered Professional Reporter
16         MR. KATZ: I have no questions.               16
17         MR. BERLIN: We're done then.                 17
18         VIDEOGRAPHER: The time is 5:04.              18
19   Deposition is concluded. This ends cassette        19
20   number 4. We are off the record.                   20
21            (Deposition concluded at 5:04             21
22   p.m.)                                              22

                                                                                82 (Pages 322 to 325)
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